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 4                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE
 6
      KELLY BOLDING, MICHAEL MANFREDI,
 7    and SARAH WARD, individually and on behalf            No. 17-cv-601-RSL
      of a class of all other similarly situated,
 8                                                         ORDER GRANTING
                                Plaintiffs,                DEFENDANT BANNER BANK’S
 9
                                                           MOTION FOR LEAVE TO FILE
             v.
10                                                         OVERLENGTH MOTION TO
      BANNER BANK, a Washington Corporation,               DISQUALIFY PLAINTIFF AND
11                                                         CLASS COUNSEL
                                Defendant.
12

13

14           THIS MATTER came before the Court on Defendant Banner Bank’s Motion for Leave
15    to File Overlength Motion to Disqualify Plaintiff and Class Counsel. Dkt. # 262. The motion is
16    GRANTED.
17
             Dated this 29th day of September, 2020.
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20                                                Honorable Robert S. Lasnik
                                                  UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING DEFENDANT’S
     MOTION TO FILE OVERLENGTH BRIEF                                            Davis Wright Tremaine LLP
                                                                                         L AW O FFI CES
     (17-cv-601-RSL) - 1                                                         929 108th Avenue NE, Suite 1500
                                                                                    Bellevue, WA 98004-4786
                                                                              425.646.6100 main · 425.646.6199 fax
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